                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
        v.                                     )         CASE NO. 4:11-CR-13
                                               )
 WALLACE TAYLOR                                )


                                             ORDER

        On December 13, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute a mixture and substance

 containing a detectable amount of cocaine base (crack), a Schedule II controlled substance, in

 violation of 21 USC '' 846 and 841(b)(1)(C) in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

 set forth in the lesser included offense in Count One of the Indictment; (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

 in custody pending sentencing in this matter (Doc. 115). Neither party filed an objection within

 the given fourteen days. After reviewing the record, the Court agrees with the magistrate judge=s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;



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       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 March 12, 2012, at 2:00 pm.

       SO ORDERED.

       ENTER:




                                               /s/ Harry S. Mattice, Jr
                                               HARRY S. MATTICE, JR.
                                          UNITED STATES DISTRICT JUDGE




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